Case 1:18-cr-00108-EAW-HKS Document 66-4 Filed 06/29/19 Page 1 of 6




                   Exhibit D
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From:           Kane, Mary (USANYW)
To:             Bonsignore, James J.; Pronti, James P.
Cc:             silvermans@silvermanlaw.net
Subject:        RE: USMS WDNY and WDPa
Date:           Wednesday, June 05, 2019 10:17:41 AM
Attachments:    image001.jpg
                ATT00001.txt



Jim
Eden Square is a different in that it is an “indicted property”
and I understand Mr. Morgan and his counsel received a letter
advising of penalties pursuant to Title 18, U.S.C §2232 for
disposing or transferring the property:
   (a) Destruction or Removal of Property To Prevent Seizure.
         —
Whoever, before, during, or after any search for or seizure of
property by any person authorized to make such search or
seizure, knowingly destroys, damages, wastes, disposes of,
transfers, or otherwise takes any action, or knowingly
attempts to destroy, damage, waste, dispose of, transfer, or
otherwise take any action, for the purpose of preventing or
impairing the Government’s lawful authority to take such
property into its custody or control or to continue holding such
property under its lawful custody and control, shall be fined
under this title or imprisoned not more than 5 years, or both.
In this instance, we must insist the net proceeds be held by
USMS SADF until further discussions can be had.
MCK
From: Bonsignore, James J.
Sent: Wednesday, June 05, 2019 10:06 AM
To: Kane, Mary (USANYW) ; Pronti, James P.
Cc: silvermans@silvermanlaw.net
Subject: RE: USMS WDNY and WDPa
Importance: High
     Case 1:18-cr-00108-EAW-HKS Document 66-4 Filed 06/29/19 Page 3 of 6


Mary:

We’ve consulted with the other principal's counsel, and collectively have the following concerns with the Marshal's
service holding the escrow. In this case, it's not really an escrow at all. As you know, the criminal forfeiture statute
only allows third parties to petition for their interests in forfeited funds after the criminal case is over. With the
complexities of this case, that could mean a period of many months into years.
We would very much prefer the escrow to be held by the title company as an actual escrow. Any party would of
course still have to petition the court for the release of the funds, but that process wouldn't be as cumbersome as it
will with the government having already seized control of the proceeds as forfeited assets.
We'd ask that you please review this again and let us know if this is a viable option. If not, we will likely have to
propose some qualifying language to insert into the stipulation as written.
We look forward to hearing from you and having further discussion to hopefully wrap this up today.
Jim
James J. Bonsignore, Esq.                          Company Logo
Of Counsel
Direct Dial: 585-987-2903
Direct Fax: 585-362-4619


jbonsignore@woodsoviatt.com

Firm Phone: 585-987-2800
Firm Fax: 585-454-3968
woodsoviatt.com
Please take note above, that along with our office move, that my direct dial telephone number
and direct fax number have changed. Please update your contacts and address book with the
new number shown above. Thank you!
1900 Bausch & Lomb Place, Rochester, New York 14604

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COMMUNICATION IN ERROR, PLEASE DESTROY THIS COMMUNICATION, INCLUDING ALL ATTACHMENTS. PLEASE NOTIFY US
IMMEDIATELY BY RETURN E-MAIL OR CALL 585-987-2800.
From: Kane, Mary (USANYW) [mailto:Mary.Kane@usdoj.gov]
Sent: Tuesday, June 04, 2019 4:38 PM
To: Bonsignore, James J.
Subject: RE: USMS WDNY and WDPa

OK
From: Bonsignore, James J. <JBonsignore@woodsoviatt.com>
Sent: Tuesday, June 04, 2019 4:28 PM
To: Kane, Mary (USANYW) <MKane@usa.doj.gov>; silvermans@silvermanlaw.net
Cc: Pronti, James P. <jpronti@woodsoviatt.com>; O'Brien, Dan <dobrien@woodsoviatt.com>
Subject: RE: USMS WDNY and WDPa
Mary – We are waiting on confirmation that the other equitable owner in the transaction who might otherwise be
entitled to a portion of the sales proceeds has signed off. We hope to have an answer shortly.
James J. Bonsignore, Esq.
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                                                 Company Logo
Of Counsel
Direct Dial: 585-987-2903
Direct Fax: 585-362-4619


jbonsignore@woodsoviatt.com

Firm Phone: 585-987-2800
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woodsoviatt.com
Please take note above, that along with our office move, that my direct dial telephone number
and direct fax number have changed. Please update your contacts and address book with the
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COMMUNICATION IN ERROR, PLEASE DESTROY THIS COMMUNICATION, INCLUDING ALL ATTACHMENTS. PLEASE NOTIFY US
IMMEDIATELY BY RETURN E-MAIL OR CALL 585-987-2800.
From: Kane, Mary (USANYW) [mailto:Mary.Kane@usdoj.gov]
Sent: Tuesday, June 04, 2019 4:26 PM
To: Bonsignore, James J.; silvermans@silvermanlaw.net
Subject: USMS WDNY and WDPa
Jim and Sam.
Are ok with stip as it is presently worded.
Unless there are any edits on your part I can send by COB today.
MCK

Mary Clare Kane
Assistant U.S. Attorney
Asset Forfeiture and Financial Litigation Unit
U.S. Attorney’s Office
138 Delaware Avenue
Buffalo, New York
Desk: (716)843-5809
Fax: (716)551-5563
     Case 1:18-cr-00108-EAW-HKS Document 66-4 Filed 06/29/19 Page 5 of 6



Received:fromEX1.woods.intra(172.30.1.145)byEX2.woods.intra
(172.30.1.146)withMicrosoftSMTPServer(TLS)id15.0.1473.3viaMailbox
Transport;Wed,5Jun201910:17:41Ş0400
Received:fromEX2.woods.intra(172.30.1.146)byEX1.woods.intra
(172.30.1.145)withMicrosoftSMTPServer(TLS)id15.0.1473.3;Wed,5Jun
201910:17:40Ş0400
Received:fromusŞsmtpŞ1.mimecast.com(172.30.10.252)byEX2.woods.intra
(172.30.1.53)withMicrosoftSMTPServerid15.0.1473.3viaFrontend
Transport;Wed,5Jun201910:17:40Ş0400
Received:frommxŞjcotsa.usdoj.gov(mxŞjcotsa.usdoj.gov[149.101.80.133])
(UsingTLS)byrelay.mimecast.comwithESMTPid
usŞmtaŞ191ŞvFZs01Ş0OQyph7qkKcnvzgŞ1;Wed,05Jun201910:17:36Ş0400
Received:frommx.doj.gov([10.187.9.62])
       byDJJMDCJC01ŞPPOINT07.jcots.jutnet.net(8.16.0.27/8.16.0.27)withESMTP
idx55EHZcL132047;
       Wed,5Jun201914:17:35GMT
Received:fromCARŞRDC02.car.doj.gov(carŞrdc02.car.doj.gov[10.222.1.12])
       byppŞcefdcŞ03.doj.gov(8.16.0.21/8.16.0.21)withESMTPSid
x55EHZSJ147837
       (version=TLSv1cipher=ECDHEŞRSAŞAES256ŞSHAbits=256verify=NOT);
       Wed,5Jun201914:17:35GMT
Received:fromUSAHUBSML216.usa.doj.gov(10.222.1.61)bycarŞrdc02.car.doj.gov
(10.222.1.12)withMicrosoftSMTPServerid14.2.347.0;Wed,5Jun2019
10:17:34Ş0400
Received:fromUSAHUBSML211.usa.doj.gov(10.200.1.240)by
USAHUBSML216.usa.doj.gov(10.200.1.246)withMicrosoftSMTPServer(TLS)id
15.0.1365.1;Wed,5Jun201910:17:34Ş0400
Received:fromUSAHUBSML212.usa.doj.gov(10.200.1.241)by
USAHUBSML211.usa.doj.gov(10.200.1.240)withMicrosoftSMTPServer(TLS)id
15.0.1365.1;Wed,5Jun201910:17:33Ş0400
Received:fromUSAHUBSML212.usa.doj.gov([fe80::8c38:2f8e:f149:753d])by
USAHUBSML212.usa.doj.gov([fe80::8c38:2f8e:f149:753d%17])withmapiid
15.00.1365.000;Wed,5Jun201910:17:33Ş0400
From:"Kane,Mary(USANYW)"<Mary.Kane@usdoj.gov>
To:"Bonsignore,JamesJ."<JBonsignore@woodsoviatt.com>,"Pronti,JamesP."
       <jpronti@woodsoviatt.com>
CC:"silvermans@silvermanlaw.net"<silvermans@silvermanlaw.net>
Subject:RE:USMSWDNYandWDPa
ThreadŞTopic:USMSWDNYandWDPa
ThreadŞIndex:AdUbE4P4WKB76/0dQ/KSlo3mSDrnPwAADavwAABj5DAAIaYwEAADK0AA
Date:Wed,5Jun201914:17:33+0000
MessageŞID:<3d09f33584194d9f9862881b034fccfa@USAHUBSML212.usa.doj.gov>
References:<b4c5c809c3894de8af4b17617aa282fb@USAHUBSML212.usa.doj.gov>
<213c0894d4014110a9fbf19d60f7d0dd@EX2.woods.intra>
<265ef103193b43eeb18302e8329ed727@USAHUBSML212.usa.doj.gov>
<8a4a9fcb22f64615a4f232e55eece4a3@EX2.woods.intra>
InŞReplyŞTo:<8a4a9fcb22f64615a4f232e55eece4a3@EX2.woods.intra>
AcceptŞLanguage:enŞUS
ContentŞLanguage:enŞUS
XŞMSŞExchangeŞOrganizationŞAuthSource:EX2.woods.intra
XŞMSŞHasŞAttach:yes
XŞMSŞTNEFŞCorrelator:
xŞoriginatingŞip:[10.200.16.198]
                                     Page1
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authenticationŞresults:relay.mimecast.com;     dkim=passheader.d=usdoj.gov
header.s=dojheader.b=DQurj4r0;        dmarc=pass(policy=reject)
header.from=usdoj.gov; spf=pass(relay.mimecast.com:domainof
mary.kane@usdoj.govdesignates149.101.80.133aspermittedsender)
smtp.mailfrom=mary.kane@usdoj.gov
dkimŞsignature:v=1;a=rsaŞsha256;c=relaxed/relaxed;d=usdoj.gov;h=from:to
:cc:subject:date:messageŞid:references:inŞreplyŞto:contentŞtype
:mimeŞversion;s=doj;bh=CM1p9bbfQYwgc6JDw8G7H9Vn+OysswrfnrXuMqrLdRM=;
b=DQurj4r0bMB1nXRtMlIw9HoDmCnhzrNX45CvJY6/odRsF1F89m/yUo2LIY8ShgySLwde
hktYs/sw8cHCSOhacaxL9Xnsji6u4QrAdZcz9u7i7asF7o5vftS7uKdYTbGcnZ6FlWSs
oQcwL/I7EwOMo0tbGNT83wQp+4n+m0vITmccOMCOv1Qoxdc6mowMXpjqdEIGwpC9rLcl
90cWNzQCKj4JOGLbONBcoofRW41N2LZ9f4Plda/QVBcGNdd153SyqZFn64hVVsBKN1Me
Jv7OL222wsm+q98+pesdG6T7YVzS1ykQTeYjH90wi7A0MQlkOYwJFadLMK6FrQUr6DLsxg==
xŞproofpointŞvirusŞversion:vendor=fsecureengine=2.50.10434:,,
definitions=2019Ş06Ş05_08:,,signatures=0
xŞmcŞunique:vFZs01Ş0OQyph7qkKcnvzgŞ1
MIMEŞVersion:1.0
ContentŞType:multipart/related;
       boundary="_004_3d09f33584194d9f9862881b034fccfaUSAHUBSML212usadojgov_";
       type="multipart/alternative"




                                     Page2
